        Case 1:21-cr-00175-TJK Document 348-8 Filed 04/29/22 Page 1 of 2




                                                      U.S. Department of Justice

                                                      Matthew M. Graves
                                                      United States Attorney

                                                      District of Columbia

                                                      Judiciary Center
                                                      555 Fourth St., N.W.
                                                      Washington, D.C. 20530




                                                      March 14, 2022

Via Email and Electronic File Transfer

 Nicholas Smith
 David Smith
 Counsel for Ethan Nordean

 Lisa Costner
 Ira Knight
 Counsel for Charles Donohoe

 J. Daniel Hull
 Counsel for Joseph Biggs

 Carmen D. Hernandez
 Counsel for Zachary Rehl

 Steven Metcalf II
 Martin Tankleff
 Counsel for Dominic Pezzola

                Re:    United States v. Ethan Nordean et al., Cr. No.: 21-cr-175 (TJK)

Dear Counsel:

        I write to memorialize additional productions related to the above-captioned case as part
of the government’s efforts to produce preliminary discovery on an ongoing basis.

       On March 8, 2022, the government made available the following items, which were
designated Sensitive:

           •    Scoped Results from Tarrio phone
           •    PowerPoint Presentation for Second Superseding Indictment.
        Case 1:21-cr-00175-TJK Document 348-8 Filed 04/29/22 Page 2 of 2




       Today the government made available via USAfx the following items (protective order
designations noted in paretheses):

           •   Scoped Results from Donohoe Phone (Sensitive to all but Donohoe)
           •   Scoped Results of Rehl Apple Account (Sensitive to all but Rehl)

       Among the files contained within the scoped results of the Tarrio phone and referenced in
the Second Superseding Intdictment was a document referred to as “1776 Returns.” In response
to requests from counsel, a copy of that document is separately being made available on USAfx in
today’s production.

         Please let us know if you have been unable to access and download the materials for your
use in this case. To assist our future productions of discovery, we would again request that you
return external hard drives that we have supplied, once you have had an opportunity to copy the
materials.

       We understand that our discovery obligations are ongoing and intend to supplement our
disclosures on a rolling basis. If you have any questions, please do not hesitate to contact us.

                                                    Sincerely yours,

                                                    MATTHEW M. GRAVES
                                                    UNITED STATES ATTORNEY

                                            By:            /s/
                                                    Luke M. Jones
                                                    Erik M. Kenerson
                                                    Jason B.A. McCullough
                                                    Assistant United States Attorneys
                                                    555 4th Street, N.W.
                                                    Washington, D.C. 20530
                                                    (202) 252-7066
                                                    Luke.jones@usdoj.gov




                                               2
